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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,

                                                         Civil Action 2:17-cr-54(8)
                                                         Judge James L. Graham
       v.                                                Magistrate Judge Chelsey M. Vascura

(8) COURTNEY NICOLE BRUCE.


                                             ORDER

       This matter came before the Court for a bond revocation hearing on November 28, 2017.

As the record in this case reveals, Defendant Courtney Nicole Bruce appeared before the Court for

her initial appearance on April 18, 2017, and was released on her own recognizance under Pretrial

Services supervision with various conditions of release, including that she refrain from committing

any federal, state, or local law while on release. (ECF No. 4.) On November 9, 2017, the

Government filed a Motion to Revoke Defendant’s bond, alleging that Defendant continues to

engage in suspected criminal activity, including witness tampering in violation of state law and 18

U.S.C. § 1512(b) and (d). (ECF No. 119.) For the reasons that follow, the Government’s

Motion is GRANTED.

       Pursuant to 18 U.S.C. § 3148, a person who has been released on bond under 18 U.S.C. §

3142 and has violated a condition of his or her release is subject to having bond revoked. Section

3148(b) provides as follows:

       The judicial officer shall enter an order of revocation and detention if, after a
       hearing, the judicial officer–

       (1)     finds that there is--

               (A)     probable cause to believe that the person has committed a Federal,
                       State, or local crime while on release; or
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                     (B)     clear and convincing evidence that the person has violated any other
                             condition of release; and

         (2)         finds that--

               (A)           based on the factors set forth in section 3142(g) of this title, there is no
                             condition or combination of conditions of release that will assure that the
                             person will not flee or pose a danger to the safety of any other person or the
                             community; or

               (B)          the person is unlikely to abide by any condition or combination of
                             conditions of release.

         If there is probable cause to believe that, while on release, the person committed a Federal,
         State, or local felony, a rebuttable presumption arises that no condition or combination of
         conditions will assure that the person will not pose a danger to the safety of any other
         person or the community. . . .

18 U.S.C. § 3148(b).

         The evidence adduced at the revocation hearing establishes probable cause that Defendant

Mitchell committed a crime. Consequently, there is a rebuttable presumption that no

condition or set of conditions will ensure the safety of the community. 18 U.S.C. §

3148(b)(2)(B). Defendant did not overcome this presumption. Under these circumstances,

revocation of Defendant’s release is warranted.

         IT IS THEREFORE ORDERED that the bond previously set in this matter is

REVOKED and that Defendant Bruce is ORDERED DETAINED until further Order of this

Court.

         IT IS SO ORDERED.

                                                             /s/ Chelsey M. Vascura
                                                            CHELSEY M. VASCURA
                                                            UNITED STATES MAGISTRATE JUDGE



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